        Case 5:18-cv-00382-MTT Document 44 Filed 01/07/22 Page 1 of 6




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF GEORGIA
                            MACON DIVISION
                                 )
UNITED STATES OF AMERICA ex rel.,)
ALEX PERMENTER, ERIC             )             Case No. 5:18-CV-382
RODIGHIERO, and CHRIS WHEELER )
                                 )
                                 )
         Plaintiff,              )
                                 )
     v.                          )
                                 )
eCLINICALWORKS, LLC,             )
                                 )
                                 )
         Defendant.              )
                                 )
                                 )


    UNOPPOSED MOTION FOR ENTRY OF PROTECTIVE ORDER
  TEMPORARILY RE-SEALING PLEADINGS SUBJECT TO FURTHER
                      REDACTION

      In accordance with Local Rule 5.4(D), Defendant eClinicalWorks, LLC

hereby respectfully moves this Court for a protective order (1) temporarily re-sealing

the original and amended qui tam complaints unsealed in this matter subject to

further redaction (Dkt. Nos. 30 and 31), and (2) allowing eClinicalWorks until

January 14, 2022 to file a motion to seal that proposes additional redactions that

should be made to those qui tam complaints before they are re-unsealed. Counsel

for eClinicalWorks has conferred with counsel for Relators, and Relators do not

oppose the relief requested.
        Case 5:18-cv-00382-MTT Document 44 Filed 01/07/22 Page 2 of 6



      In support of this motion, counsel for eClinicalWorks states as follows:

      1.     Relators’ qui tam complaint is premised on allegations that

eClinicalWorks’ cloud-based software and its servers fail to comply with certain

federal regulatory requirements related to cybersecurity and, as such, are especially

vulnerable to cyberattack. eClinicalWorks disputes the allegations.

      2.     eClinicalWorks is one of the country’s leading providers of electronic

health records (“EHR”) software. The company’s cloud-based EHR software is used

by tens of thousands of physicians, and personal health information of tens of

millions of patients is maintained on the company’s servers.

      3.     eClinicalWorks’ servers are constantly sending important patient health

information to and receiving important patient health information from physicians,

pharmacies, and laboratories.      The ability of physicians, pharmacies, and

laboratories to provide efficient care to their patients depends upon eClinicalWorks’

servers being up and running.

      4.     Given eClinicalWorks’ status as one of the country’s leading EHR

software providers, if malicious actors were to become aware that eClinicalWorks

is the subject of Relators’ disputed cybersecurity allegations, it might encourage

those malicious actors to attempt cyberattacks on eClinicalWorks’ servers.

      5.     eClinicalWorks is confident that attempted cyberattacks on its servers

would not be successful and that malicious actors would not be able to access patient



                                         -2-
        Case 5:18-cv-00382-MTT Document 44 Filed 01/07/22 Page 3 of 6



health information. Even unsuccessful attempted cyberattacks on eClinicalWorks’

servers, however, could clog up those servers’ bandwidth. This could slow the speed

at which physicians, pharmacies, and laboratories transmit patient health

information to and receive patient health information from eClinicalWorks’ servers.

This could negatively impact the efficiency of patient care at a time when the

efficiency of patient care—during a public health emergency that is profoundly

impacting eClinicalWorks’ physician customers—is most vital.

      6.     The redactions that Relators made to the public versions of their qui

tam complaints are insufficient to mitigate against the risk that publication of those

pleadings would encourage malicious actors to attempt cyberattacks targeting

eClinicalWorks.

      7.     Malicious actors could use context to determine some or all of the

information that Relators placed under redaction marks. Moreover, many of the

unredacted portions of the qui tam complaints include information that, if known by

malicious actors, would create an unnecessarily heightened risk that those malicious

actors would attempt cyberattacks on eClinicalWorks’ servers. Given that even

attempted unsuccessful cyberattacks on eClinicalWorks’ servers could have a

detrimental impact on patient care while a pandemic rages, this unnecessarily

heightened risk outweighs the presumption of public access to those currently

unredacted portions of the qui tam complaints.



                                         -3-
        Case 5:18-cv-00382-MTT Document 44 Filed 01/07/22 Page 4 of 6



      8.      The qui tam complaints also include in unredacted form certain

proprietary business information regarding its software.

      9.      Prior to today, it was the understanding of eClinicalWorks’ counsel that

although the False Claims Act seal in this case had been lifted, the docket and

pleadings remained not publicly available on PACER but rather could be accessed

by a member of the public only by personally visiting the Middle District of Georgia

courthouse.    eClinicalWorks’ counsel’s understanding was based on a phone

conversation between eClinicalWorks’ counsel at Ropes & Gray Aaron M. Katz and

Relators’ counsel Rob Snyder on or about October 27, 2021, as well as the fact that

Mr. Snyder continued to file documents with the Court bearing the heading

“PLEASE DO NOT MAKE AVAILABLE ON PACER,” including purely

procedural documents such as Relators’ Notice of Waiver of Service, Dkt. #36. In

addition, eClinicalWorks’ counsel were not able to locate the docket on PACER via

a PACER search, which they took as further confirmation that the docket was not

available on PACER, even though the matter was unsealed. See Declaration of

Aaron M. Katz, attached hereto as Exhibit 1.

      10.     eClinicalWorks’ counsel now recognizes that their understanding of the

docket’s status on PACER was mistaken. eClinicalWorks’ counsel is not faulting

Mr. Snyder for their misunderstanding, but merely explaining to the Court why

eClinicalWorks did not file this motion to seal prior to today, when they learned for



                                          -4-
         Case 5:18-cv-00382-MTT Document 44 Filed 01/07/22 Page 5 of 6



the first time that the docket, including insufficiently redacted versions of Relators’

qui tam complaints, is in fact available on PACER.

                                  CONCLUSION

      For the reasons discussed above, eClinicalWorks respectfully requests that the

Court temporarily re-seal the qui tam complaints and allow eClinicalWorks until

January 14, 2022 to file a motion to seal that proposes additional redactions to the

qui tam complaints. A proposed order is attached hereto.


Dated:    January 7, 2022          Respectfully submitted,

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                                          -5-
        Case 5:18-cv-00382-MTT Document 44 Filed 01/07/22 Page 6 of 6



                         CERTIFICATE OF SERVICE

      The undersigned certifies that on January 7, 2022, the foregoing documents
were filed with the Clerk of the U.S. District Court for the Middle District of
Georgia, Macon Division, using the Court’s electronic filing system (“ECF”), and
that all counsel of record received the same via ECF.


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